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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

 NORMAN PETE                                                            CIVIL ACTION
 VERSUS                                                                 NO. 15‐1464
 SANDY McCAIN                                                           SECTION: “H” (5)


                                    ORDER AND REASONS

       The Plaintiff, Norman Pete (“Pete”), is incarcerated in the Rayburn Correctional Center.

He is a frequent filer of frivolous lawsuits in this court. He filed this pro se complaint pursuant

to 42 U.S.C. § 1983 against the Warden of Rayburn Correctional Center, alleging that despite

his past physical altercation with an inmate and self‐proclaimed enemy, they are still assigned

to the same living quarters. (Rec. Doc. 5, Complaint, p. 3). He requests monetary compensation

and injunctive relief.

       With his complaint, Pete submitted an application to proceed in forma pauperis

pursuant to Title 28 U.S.C. § 1915. This is a non‐dispositive pretrial matter which was referred

to the undersigned magistrate judge pursuant to Local Rule 72.1 (B)(1) and Title 28 U.S.C.

§636(b).

       The Prison Litigation Reform Act of 1996, Pub. L. No. 104‐134, 110 Stat. 1321, now

codified at Title 28 U.S.C. § 1915(g), provides that a prisoner shall not be allowed to bring a
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civil action pursuant to § 1915 if he has, on three or more prior occasions, while incarcerated

or detained in any facility, brought an action or appeal in a court of the United States that was

dismissed as frivolous, malicious, or for failure to state a claim for which relief can be granted,

unless the prisoner is under imminent danger of serious physical injury.

          Pete has submitted at least nine civil rights complaints in this court alone while he was

incarcerated. The court’s records establish that at least three of Pete’s prior civil rights

complaints were dismissed as frivolous, including the following: Pete v. Foti, C.A. No. 88‐4459

“D”(6) (E.D. La. 1988); Pete v. Foti, C.A. No. 89‐0813 “C”(2) (E.D. La. 1989); Pete v. Foti, C.A. No.

89‐4277 “D”(4) (E.D. La. 1989).1 Pete's current claims do not involve imminent danger to his

physical safety. His complaint is vague and conclusory and completely devoid of any facts or

circumstances surrounding the alleged incident. He has not provided any date(s) for the past

physical altercation and does not indicate any physical threat or incident at this time.

Moreover, his admission that he has not presented his claims to prison officials via any

prisoner grievance procedure implies there is no actual imminent danger to his physical

safety.

          For the foregoing reasons, IT IS ORDERED that Pete's motion to proceed in forma

pauperis is DENIED pursuant to Title 28 U.S.C. § 1915(g).

          New Orleans, Louisiana, this __________              May
                                        18th day of __________________________, 2015.




                                                              MICHAEL B. NORTH
                                                         UNITED STATES MAGISTRATE JUDGE


          1
           He has been denied the privilege of proceeding in forma pauperis in the past pursuant to 28
U.S.C. 1915(g) because he has acquired three strikes under the PLRA. See e.g., Norman Pete v. Marlin
Gusman, 07‐3776 "R"(4) (E.D. La. Aug. 20, 2007); Norman Pete v. Orleans Parish Criminal Sheriff's Office,
et al., 04‐2139 "J"(4) (E.D. La. Sep. 7, 2004).

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